                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

      v.                                                Case No. 93-CR-116

ADOLPH ALTUVE,

                    Defendant.


                                           ORDER


      Based on the government’s motion and for good cause shown, the Court hereby

GRANTS leave to dismiss Counts 1, 3, 5, 7, 11, and 13 of the superseding indictment,

without prejudice, in the above-captioned case.



Date: December 19, 2006                           s/ Rudolph T. Randa
                                                  HON. RUDOLPH T. RANDA
                                                  Chief United States District Judge




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